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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE:                                   )         Chapter 7
                                         )
REILLY-BENTON COMPANY, INC.              )         Case No. 17-12870
                                         )
DEBTOR                                   )         Section A
                                         )



                                       ORDER
      Considering the Ex Parte Unopposed Motion for Protective Order,

      IT IS ORDERED that the Ex Parte Unopposed Motion for Protective Order is

GRANTED.



      New Orleans, Louisiana, this ____ day of _____________, 2022.




                                         JUDGE MEREDITH S. GRABILL




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